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CLARE E. CONNORS #7936                                        FILED IN THE
                                                     UNITED STATES DISTRICT COURT
Acting United States Attorney                              DISTRICT OF HAWAII


District of Hawaii
                                                        Jul 21, 2022, 3:21 pm
                                                     Pam Hartman Beyer, Clerk of Court




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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,               )   MAG. NO. 22-1229 RT
                                        )
                Plaintiff,              )   AMENDED WRIT OF HABEAS
                                        )   CORPUS AD
       vs.                              )   PROSEQUENDUM
                                        )
SAMUELA TUIKOLONGAHAU,                  )
JR.                                     )
   aka "Samuela Latu Jr. Tuikologahau," )
   aka "Samu,"                          )
                                        )
                Defendant.              )
                                        )

      AMENDED WRIT OF HABEAS CORPUS AD PROSEQUENDUM




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TO: The Warden Francis Sequeira, Oahu Community Correctional Center, 2199
    Kamehameha Highway, Honolulu, Hawaii 96819; and to the United States
    Marshal for the District of Hawaii, or his/her assistant.


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                                      T-IN
                                         --G-
                                            S

             We command that you, the Warden, Oahu Community Correctional

Center, Honolulu, Hawaii, produce the body of SAMUELA TUIKOLONGAHAU,

JR., Offender, now in your custody to the special agents of U.S. Secret Service

and/or the United States Marshal on July 25, 2022, and further that the special

agents of the U.S. Secret Service and/or United States Marshal upon taking

custody of said defendant produce said defendant before the Honorable Rom

Trader, United States Magistrate Judge, United States Courthouse, 300 Ala Moana

Boulevard, Honolulu, Hawaii, on July 26, 2022 the hour of 10:30 a.m. for the

Initial Appearance of said defendant, and also at such other times as may be

ordered by this Court, and have you then and there this Writ.

             Custody of said SAMUELA TUIKOLONGAHAU, JR. shall remain

with the special agents of the U.S. Secret Service and/or United States Marshal.

The delivery of the body of said defendant by special agents of the U.S. Secret

Service and/or the United States Marshal to the courtroom of the Honorable Rom

Trader as aforesaid until termination of the criminal charges now pending against

defendant and the return by the United States Marshal of said defendant to the
                                         2
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custody of the Oahu Community Correctional Center, shall be deemed sufficient

compliance with this Writ.

             WITNESS the Honorable Rom Trader, United States Magistrate

Judge of the United States District Court for the District of Hawaii.
                          21 2022, at Honolulu, Hawaii.
             DATED: July ____,

                                       Pamela Hartman Beyer, Clerk
                                       United States District Court
                                       for the District of Hawaii

                                        /s/ EA, Deputy Clerk
                                       _________________________________
                                       DEPUTY CLERK




United States v. Samuela Tuikolongahau, Jr.
Mag. No. 22-1229 RT
Amended Writ of Habeas Corpus Ad Prosequendum




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